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MICHAEL BAILEY AK US DISTRICT COURT

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United States Attorney pisTRIcT OF ye DEPUTY }
District of Arizona ay
RAYNETTE M. LOGAN

Arizona State Bar No. 016695.
Email: Raynette.Logan@usdoj.gov
Two Renaissance Square

40 N. Central Ave., Suite 1800
Phoenix, Arizona 85004
Telephone: 602-514-7500
Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

 

 

United States of America, No. CR 19-1199-PHX-SMB
Plaintiff,
VS. PLEA AGREEMENT

Jesse Don Moquino,

Defendant.

 

 

Plaintiff, the United States of America, and the defendant, JESSE DON
MOQUINO, hereby agree to dispose of this matter on the following terms and conditions:
1. PLEA

The defendant is charged in Count 1 of the Indictment with a violation of Title 18,
United States Code (U.S.C.), Sections 1153 and 1111, First Degree Murder, a Class A
felony offense. The defendant will plead to the lesser-included charge of Count 1,
Voluntary Manslaughter, pursuant to Title 18, United States Code, Sections 1153 and 1112,
a Class C felony offense.

2. MAXIMUM PENALTIES

a. A violation of 18 U.S.C. § 1112 is punishable by a maximum fine of
$250,000, a maximum term of imprisonment of 15 years, or both, and a term of supervised
release of not more than three years.

b. According to the Sentencing Guidelines issued pursuant to the Sentencing

Reform Act of 1984, the Court shall order the defendant to:

 
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(1) make restitution to any victim of the offense pursuant to 18 U.S.C.
§ 3663 and/or 3663A, unless the Court determines that restitution would not be
appropriate;

(2) pay a fine pursuant to 18 U.S.C. § 3572, unless the Court finds that a
fine is not appropriate; |

(3) serve aterm of supervised release when required by statute or when a
sentence of imprisonment of more than one year is imposed (with the understanding that
the Court may impose a term of supervised release in all other cases); and

(4) pay upon conviction a $100 special assessment for each count to
which the defendant pleads guilty pursuant to 18 U.S.C. § 3013.

C. The Court is required to consider the Sentencing Guidelines in determining
the defendant’s sentence. However, the Sentencing Guidelines are advisory, and the Court
is free to exercise its discretion to impose any reasonable sentence up to the maximum set
by statute for the crime(s) of conviction, unless there are stipulations to the contrary that
the Court accepts. |
3. AGREEMENTS REGARDING SENTENCING

a. Stipulation. Pursuant to Fed. R. Crim. P. 11(c)(1)(C), the United States and
the defendant stipulate that defendant’s sentence shall be 15 years in confinement.

b. Acceptance of Responsibility. If the defendant makes full and complete

 

disclosure to the U.S. Probation Office of the circumstances surrounding the defendant’s
commission of the offense, and if the defendant demonstrates an acceptance of
responsibility for this offense up to and including the time of sentencing, the United States
will recommend a two-level reduction in the applicable Sentencing Guidelines offense
level pursuant to U.S.S.G. § 3E1.1(a). Ifthe defendant has an offense level of 16 or more,
the United States will move the Court for an additional one-level reduction in the applicable
Sentencing Guidelines offense level pursuant to U.S.S.G. § 3E1.1(b).

c. Non-Binding Recommendations. The defendant understands that

recommendations are not binding on the Court. The defendant further understands that the

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defendant will not be permitted to withdraw the guilty plea if the Court does not follow a
recommendation.

d. Restitution. Pursuant to 18 U.S.C. § 3663, 3663A and/or 2248, the defendant
specifically agrees to pay full restitution to all victims in an amount to be determined by
the court, but in no event, more than $100,000.00 per victim. “Victims” include persons
or entities directly or proximately harmed by defendant’s “relevant conduct” including
conduct pertaining to any dismissed counts or uncharged conduct, as defined by U.S.S.G.
§1B1.3, regardless of whether such conduct constitutes an “offense” under 18 U.S.C. §§
2259, 3663, 3663(A) or 2248. Pursuant to 18 U.S.C. §§ 3663 and 3664(j)(1), “victims”
also include persons or entities (whether private or government: state, federal or tribal) that
have paid or costs related to defendant’s conduct, including insurance providers and health
care providers (including those such as Medicaid, Medicare and AHCCCS). Even if the
victim did not suffer physical injury, the defendant expressly agrees to pay restitution for
expenditures and future expenses related to treatment for mental or emotional trauma
suffered by the victims. Such expenditures shall include, but are not limited to: mental
health treatment and counseling, in-patient treatment, and traditional Native American
ceremonies treatment. The defendant understands that such restitution will be included in
the Court’s Order of Judgment and that an unanticipated restitution amount will not serve
as grounds to withdraw the defendant’s guilty plea or to withdraw from this plea agreement.

e. Assets_and Financial Responsibility. The defendant shall make a full
accounting of all assets in which the defendant has any legal or equitable interest. The
defendant shall not (and shall not aid or abet any other party to) sell, hide, waste, spend, or
transfer any such assets or property before sentencing, without the prior approval of the
United States (provided, however, that no prior approval will be required for routine, day-
to-day expenditures). The defendant also expressly authorizes the United States Attorney’s
Office to immediately obtain a credit report as to the defendant in order to evaluate the
defendant’s ability to satisfy any financial obligation imposed by the Court. The defendant

also shall make full disclosure of all current and projected assets to the U.S. Probation

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Office immediately and prior to the termination of the defendant’s supervised release or
probation, such disclosures to be shared with the U.S. Attorney’s Office, including the
Financial Litigation Unit, for any purpose. Finally, the defendant shall participate in the
Inmate Financial Responsibility Program to fulfill all financial obligations due and owing
under this agreement and the law.

If the defendant is (or hereafter becomes) a member of a Native American tribe that
provides “per capita” payments to its members, the defendant agrees that any such “per
capita” payment shall be paid over to the Clerk of the Court and applied to the defendant’s
restitution obligation until restitution to all victims is paid in full.

4, AGREEMENT TO DISMISS OR NOT TO PROSECUTE

a. This agreement does not, in any manner, restrict the actions of the United
States in any other district or bind any other United States Attorney’s Office.

5. COURT APPROVAL REQUIRED; REINSTITUTION OF PROSECUTION

a. If the Court, after reviewing this plea agreement, concludes that any
provision contained herein is inappropriate, it may reject the plea agreement and give the
defendant the opportunity to withdraw the guilty plea in accordance with Fed. R. Crim. P.
11(c)(5).

b. If the defendant’s guilty plea or plea agreement is rejected, withdrawn,
vacated, or reversed at any time, this agreement shall be null and void, the United States
shall be free to prosecute the defendant for all crimes of which it then has knowledge and
any charges that have been dismissed because of this plea agreement shall automatically
be reinstated. In such event, the defendant waives any and all objections, motions, and
defenses based upon the Statute of Limitations, the Speedy Trial Act, or constitutional
restrictions in bringing later charges or proceedings. The defendant understands that any
statements made at the time of the defendant’s change of plea or sentencing may be used
against the defendant in any subsequent hearing, trial, or proceeding subject to the

limitations of Fed. R. Evid. 410.

 

 
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6. WAIVER OF DEFENSES AND APPEAL RIGHTS

The defendant waives (1) any and all motions, defenses, probable cause
determinations, and’ objections that the defendant could assert to the Indictment,
information; and (2) any right to file an appeal, any collateral attack, and any other writ or
motion that challenges the conviction, an order of restitution or forfeiture, the entry of
judgment against the defendant, or any aspect of the defendant's sentence, including the
manner in which the sentence is determined, including but not limited to any appeals under
18 U.S.C. § 3742 (sentencing appeals) and motions under 28 U.S.C. §§ 2241 and 2255
(habeas petitions), and any right to file a motion for modification of sentence, including
under 18 U.S.C. § 3582(c). This waiver shall result in the dismissal of any appeal,
collateral attack, or other motion the defendant might file challenging the conviction, order
of restitution or forfeiture, or sentence in this case. This waiver shall not be construed to
bar an otherwise-preserved claim of ineffective assistance of counsel or of “prosecutorial
misconduct” (as that term is defined by Section ILB of Ariz. Ethics Op. 15-01 (2015)).

7. DISCLOSURE OF INFORMATION

a. The United States retains the unrestricted right to provide information and
make any and all statements it deems appropriate to the U.S. Probation Office and to the
Court in connection with the case.

b. Any information, statements, documents, and evidence that the defendant
provides to the United States pursuant to this agreement may be used against the defendant
at any time.

c. The defendant shall cooperate fully with the U.S. Probation Office. Such
cooperation shall include providing complete and truthful responses to questions posed by
the U.S. Probation Office including, but not limited to, questions relating to:

(1) criminal convictions, history of drug abuse, and mental illness; and
(2) financial information, including present financial assets or liabilities

that relate to the ability of the defendant to pay a fine or restitution.

 
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8. FORFEITURE, CIVIL, AND ADMINISTRATIVE PROCEEDINGS

Nothing in this agreement shall be construed to protect the defendant from

administrative or civil forfeiture proceedings or prohibit the United States from proceeding

with and/or initiating an action for civil forfeiture. Pursuant to 18 U.S.C. § 3613, all

monetary penalties, including restitution imposed by the Court, shall be due immediately

upon judgment, shall be subject to immediate enforcement by the United States, and shall

be submitted to the Treasury Offset Program so that any federal payment or transfer of

returned property the defendant receives may be offset and applied to federal debts (which

offset will not affect the periodic payment schedule). If the Court imposes a schedule of

payments, the schedule of payments shall be merely a schedule of minimum payments and

shall not be a limitation on the methods available to the United States to enforce the

judgment.

9. ELEMENTS

Lesser Included Offense of Count 1: CIR-Voluntary Manslaughter ©

On or about September 11, 2019, in the District of Arizona:

l.
2.

Defendant unlawfully killed the victim.,;

While in a sudden quarrel or heat of passion, caused by adequate provocation,
Defendant killed the victim recklessly with extreme disregard for human life;
The crime occurred on an Indian Reservation, in Indian Country; and
Defendant was an Indian at the time of the killing. Specifically, Defendant had
some quantum of Indian blood and was a member of or was affiliated with a

federally recognized tribe.

10. FACTUAL BASIS

a.

The defendant admits that the following facts are true and that if this matter

were to proceed to trial the United States could prove the following facts beyond a

reasonable doubt:

 
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On or about September 11, 2019, in the District of Arizona, within
the confines of the Salt River Pima-Maricopa Indian Community,
Indian Country, I unlawfully killed the victim, “G.Z.” (whose true
name is listed in the unredacted Indictment). While in an argument
with G.Z., caused by adequate provocation, I stabbed G.Z. in the
neck with a sharp object and then hit her on the back of the head
with a dull object multiple times. The wound IJ caused to the back

of G.Z.’s head was the cause of her death.

At the time of the offense, I had a sufficient quantum of Indian
blood and was a member of, or was affiliated with, a federally
recognized tribe, namely the Salt River Pima-Maricopa Indian

Community.

b. The defendant shall swear under oath to the accuracy of this statement and,
if the defendant should be called upon to testify about this matter in the future, any
intentional material inconsistencies in the defendant’s testimony may subject the defendant
to additional penalties for perjury or false swearing, which may be enforced by the United
States under this agreement.

APPROVAL AND ACCEPTANCE OF THE DEFENDANT

I have read the entire plea agreement with the assistance of my attorney. I
understand each of its provisions and I voluntarily agree to it. .

1 have discussed the case and my constitutional and other rights with my attorney.
I understand that by entering my plea of guilty I shall waive my rights to plead not guilty,
to trial by jury, to confront, cross-examine, and compel the attendance of witnesses, to
present evidence in my defense, to remain silent and refuse to be a witness against myself
by asserting my privilege against self-incrimination, all with the assistance of counsel, and

to be presumed innocent until proven guilty beyond a reasonable doubt.

 
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I agree to enter my guilty plea as indicated above on the terms and conditions set
forth in this agreement.

I have been advised by my attorney of the nature of the charges to which I am
entering my guilty plea. [have further been advised by my attorney of the nature and range
of the possible sentence and that my ultimate sentence shall be determined by the Court
after consideration of the advisory Sentencing Guidelines.

My guilty plea is not the result of force, threats, assurances, or promises, other than
the promises contained in this agreement. I voluntarily agree to the provisions of this
agreement and I agree to be bound according to its provisions.

I understand that if I am granted probation or placed on supervised release by the
Court, the terms and conditions of such probation/supervised release are subject to
modification at any time. I further understand that if I violate any of the conditions of my
probation/supervised release, my probation/supervised release may be revoked and upon
such revocation, notwithstanding any other provision of this agreement, I may be required
to serve a term of imprisonment or my sentence otherwise may be altered.

This written plea agreement, and any written addenda filed as attachments to this
plea agreement, contain all the terms and conditions of the plea. Any additional
agreements, if any such agreements exist, shall be recorded in a separate document and
may be filed with the Court under seal; accordingly, additional agreements, if any, may not
be in the public record.

I further agree that promises, including any predictions as to the Sentencing
Guideline range or to any Sentencing Guideline factors that will apply, made by anyone
(including my attorney) that are not contained within this written plea agreement, are null
and void and have no force and effect.

I am satisfied that my defense attorney has represented me ina competent manner.

I fully understand the terms and conditions of this plea agreement. I am not now

using or under the influence of any drug, medication, liquor, or other intoxicant or

 
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depressant that would impair my ability to fully understand the terms and conditions of this
plea agreement.
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APPROVAL OF DEFENSE COUNSEL

I have discussed this case and the plea agreement with my client in detail and have
advised the defendant of all matters within the scope of Fed. R. Crim. P. 11, the
constitutional and other rights of an accused, the factual basis for and the nature of the
offense to which the guilty plea will be entered, possible defenses, and the consequences
of the guilty plea including the maximum statutory sentence possible. I have further
discussed the concept of the advisory Sentencing Guidelines with the defendant. No
assurances, promises, or representations have been given to me or to the defendant by the
United States or any of its representatives that are not contained in this written agreement.
I concur in the entry of the plea as indicated above and that the terms and conditions set
forth in this agreement are in the best interests of my client. I agree to make a bona fide

effort to ensure that the guilty plea is entered in accordance with all the requirements of

Fed. R. Crim. P. 11.

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APPROVAL OF THE UNITED STATES

I have reviewed this matter and the plea agreement. I agree on behalf of the United
States that the terms and conditions set forth herein are appropriate and are in the best

interests of justice.

MICHAEL BAILEY
United States Attorney
District of Arizona

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Date RAYNPTTE YW LOGAN

Assistant U.S“Attorney

 

 

 

ACCEPTANCE BY THE COURT

 

 

Date HONORABLE SUSAN M. BRNOVICH
United States District Judge

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